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                                                                                                 &r-
                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF          AMERICA             )
                                              )      No.tgCR7z
                                              )
                                              )     Judge Ronald A. Guzman
ANTONIO BROWN                                 )

                           FINAL ORDER OF FORFEITURE

       The United States asks this Court to issue a final order of forfeiture pursuant

to Title 18, United States Code, Section 924(dX1), Title 28, United States               Code,

section 2461(c), and Federal Rules of criminal Procedurc 82.2.

       (a)     On August 5, 20L9, a superseding information was filed charging

defendant ANTONIO BROWN, with being a felon                   in   possession of a firearm, in

violation of 18 U.S.C. S 922(g)(1). The superseding information sought forfeiture to

the United states of property involved in the charged offense.

       (b) on      August 6, 2019, pursuant to Fed. R. crim.                p. 11, defendant
ANTONIO BROWN entered                   a voluntary plea of guilty to the superseding
information.

       (c)     Pursuant to the terms of the plea agreement and as a result of his

violation of 18 U.S.C.   $ 922(9)(1),   defendant agreed that certain property is subject to

forfeiture pursuant to the provisions of 18 U.S.C.      S   924(d)(1) and 28 U.S.C. g 2461(c),

as property involved in the violation of 18 U.S.C. S 922(gX1). The property subject to

forfeiture includes but is not limited to: one Glock 19 Gen4 9mm pistol, bearing serial
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number ACCT806, and associated ammunition and 42 rounds of Winchester 9mm

ammunition, bearing headstamps WMA 18+.

         (d) On December 5, 20L9, this               Court entered a preliminary order of
forfeiture in which all right, title and interest of defendant, in the foregoing property

was forfeit to the United States of America for disposition according to law, pursuant

to the provisions of 18 U.S.C.    S   924(d)(1) and 28 U.S.C.   S   2a61(c). Further, the Federal

Bureau of Investigation was directed to seize and take custody of the foregoing

property. Additionally, the government was ordered to publish notice of its intention

to forfeit the property and to dispose of     it   according to law.

         (e)     Pursuant to the provisions of 21 U.S.C. S S53(nX1), as incorporated by

28 U.S.C. $ 2461(c), the government posted notice of the forfeiture and of its         intention
to dispose of the foregoing property on an official government internet site for at least

30 days beginning on December 7,2019.

         (0      The preliminary order of forfeiture was served pursuant to the district

court's ECF system as to ECF filers. Additionally, Jamie Jermell Key, Jr. was served.

with a copy of the preliminary order of forfeiture. Pursuant to the provisions of 21

U.S.C.   S   853(n)(1), as incorporated by 28 U.S.C. $ 2461(c), no other parties are known

to have an interest in the property and accordingly, no parties were personally served

with a copy of the notice of forfeiture and preliminary order of forfeiture.

         (g)     To date, no petitions have been filed requesting a hearing to adjudicate

any interest in the foregoing property, and the time in which to file a request for a

hearing has expired.
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       Accordingly,   it   is hereby ORDERED, ADJUDGED and DECREED:

       1.     That, pursuant to the provisions of 18 u.s.c.     S 924(d)(1), 28   u.s.c.      S


2461(c), and Fed. R. Crim. P.32.2, all right,   title, and interest of defendant ANTONIO

BROWN and any third party in one Glock 19 Gen4 9mm pistol, bearing serial number

ACCT806, and associated ammunition and                42 rounds of Winchester           gmm

ammunition, bearing headstamps WMA 18*, is hereby forfeit to the United States of

America for disposition according to law. It is further ordered,

       2.     That, pursuant to the provisions of 21U.S.C. S 853(n)(7), as incorporated

by 28 U.S.C. $ 2461(c), following the entry of this order, the United States shall have

clear title to the foregoing property, and shall dispose of    it according   to law.   It   is

further ordered,

       3.     That, this Court shall retain jurisdiction over this matter to take any

additional action and enter further orders as necessary to implement and enforce this

forfeiture order.




                                                 United States District Judge


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